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5
                       IN THE UNITED STATES DISTRICT COURT
6
                     FOR THE EASTERN DISTRICT OF CALIFORNIA
7

8                                       ) Case No.: 2:10-cr-00347-MCE
     United States of America,          )
9                                       )
                Plaintiff,              )
10                                      ) STIPULATION AND ORDER TO CONTINUE
          vs.                           ) STATUS CONFERENCE
11                                      )
                                        ) Court: Hon. Morrison C. England
12   Torey Moore,                       ) Time:   9:00 a.m.
                                        ) Date:   December 6, 2012
13              Defendant
14

15

16        Defendant Torey Moore, by and through his undersigned counsel and
17   the United States Government, by and through Assistant United States
18   Attorney Todd Leras, hereby agree and stipulate that the status
19   conference previously scheduled for October 25, 2012 be continued
20   until December 6, 2012 and that date is available with the Court.      Mr.
21   Moore is charged in a five count indictment alleging violations of 21
22   U.S.C. §§s 841(a)(1) and § 846 – possession with intent to distribute
23   and conspiracy to distribute methamphetamine.    Mr. Moore has received
24   his pre-plea pre-sentence report and his defense investigator is in
25   the process of interviewing witnesses in connection with that report.
26   The parties therefore request that the matter be continued to allow
27   both government and defense review to be completed.
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1    Therefore, the parties request a status conference date of December 6,

2    2012 and that date is available with the Court.

3                                   The parties agree that time should be excluded under 18 U.S.C. §

4    3161(h)(8)(i) for defense preparation and under local code T4.

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6
     Dated: October 23, 2012                                       Respectfully submitted,
7

8

9                                                               __/s/ Shari Rusk___
                                                                Shari Rusk
10                                                              Attorney for Defendant
                                                                Torey Moore
11

12                                                                 /s/ Todd Leras
                                                                   Todd Leras
13                                                                 Assistant United States Attorney
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15
                                                           ORDER
16

17
                                    IT IS SO ORDERED.   The Court finds excludable time through
18
     December 6, 2012, based on Local Code T4, giving counsel reasonable
19
     time to prepare.                            The Court finds that the ends of justice served by
20
     granting this continuance outweigh the interests of the defendant and
21
     the public to a speedy trial.
22
     Dated:                            October 29, 2012
23
                                                              __________________________________
24                                                            MORRISON C. ENGLAND, JR
                                                              UNITED STATES DISTRICT JUDGE
25   DE AC _S ig na tu re -E ND :




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